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                                                         February 21, 2023

VIA ECF

The Honorable Lewis A. Kaplan
United States District Court
Southern District of New York
United States Courthouse
500 Pearl Street
New York, New York 10007

         Re: United States v. Samuel Bankman-Fried, 22 Cr. 673 (LAK)

Dear Judge Kaplan:

        On behalf of our client, Samuel Bankman-Fried, we respectfully submit this letter in
response to the Court’s proposal to appoint an independent technical expert, paid for by the
defense, to advise the Court on technical issues concerning Mr. Bankman-Fried’s bail conditions.
See Tr. 2/16/2023 Conf. at 24-25, 28. The defense agrees to the appointment of such an expert at
the defense’s expense and the Government has no objection. The defense has already begun
researching and contacting possible experts and anticipates being able to propose one or more
potential candidates to the Court by the end of the week.

                                                   Respectfully submitted,


                                                     /s/ Christian R. Everdell      .
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cc:   All counsel of record (via ECF)
